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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


 ELIJAH N. WALKER,

          Plaintiff,                                   Case No. 1:23-cv-00745-DII

 v.                                                    Hon. Judge Docket II

 PHOENIX LAW PC,

          Defendant.




          AFFIDAVIT IN SUPPORT OF PLAINTIFF’S MOTION FOR DEFAULT
          JUDGMENT AGAINST THE PHOENIX LAW PC ON A SUM CERTAIN

I, Nathan C. Volheim, being duly sworn, state as follows:

      1. I am the attorney for Plaintiff in the above-entitled action and as such, I am familiar with

         the billing, records, events, and pleadings in this matter.

      2. On July 12, 2023, the process server served the Defendant by serving Defendant’s

         Registered Agent, Jenn Bautista at 2710 Gateway Oaks Drive, Suite 150N, Scato, CA

         95833. [Dkt. No.6].

      3. A responsive pleading to the Complaint was due on August 2, 2023. No response was

         tendered within the time allowed by law nor has the Defendant sought additional time

         within which to respond.

      4. As required by the Service Members Civil Relief Act of 2003, I have confirmed that the

         Defendant is not currently in active military service.

      5. To my best information and belief, Defendant is not an infant or an incompetent person.




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6. Plaintiff seeks reasonable costs and attorney fees of $2,681.30. Billing has been kept by

     an electronic billing system and is reasonable for an attorney with similar experience.

7.   The Plaintiff is requesting the entry of judgment against the Defendant for violating the

     law. This Honorable Court shall determine the judgement amount.


                                                  ____________________________
                                                  Nathan C. Volheim
                                                  Counsel for Plaintiff




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